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                     EXHIBIT A


   REDACTED VERSION OF
  DOCUMENT SOUGHT TO BE
         SEALED
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                   From: Matt Fischer <matt.fischer@apple.com>
                 Subject: update on App Store Membership Subscriptions
            Received(Date): Tue, 21 Aug 2018 10:53:16 -0700
                      Cc: Carson Oliver <carson_oliver@apple.com>,Sheree Chang
                            <shereechang@apple.com>, Trystan Kosmynka <tkosmynka@apple.co
                      To: Phil Schiller <schiller@apple.com>, Eddy Cue <cue@apple.com>,Sean
                            Cameron <sean_cameron@apple.com>
             Attachment: Membership Subscriptions.pdf
                    Date: Tue, 21 Aug 2018 10:53:16 -0700

           Privileged and Confidential

           Phil and Eddy,

           To follow up on our discussion on Friday, attached is an updated overview of App Store
           Membership Subscriptions for developers who offer physical goods and services.

           As I mentioned, the team has spoken to several developers and they’ve consistently
           pushed back on the 30% commission, so we may need your help to come up with some
           creative solutions to make this happen.

           Please let us know if you need more information or have any questions for your
           discussion.

           Thanks,
           Matt




                                                                                              PX-0201.1
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